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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA,

 vs.                                                     CASE NO. 8:12CR288-T-EAK-MAP


 RYAN LUTZ
                                             /
                                                 ORDER


         This cause comes before the Court on notice from the Office of the Federal Defender that
 it has satisfied the requirements set forth in the Court’s Omnibus Order In Re: Amendment 782,
 United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus Order”), and notification
 that the office will not be filing a Motion for Sentence Reduction under Amendment 782 on
 behalf of Defendant Lutz as to the retroactive application of revised sentencing guidelines (Doc.
 708). The Defendant in this case has not filed his own motion and memorandum in support of a
 reduction in sentence under Amendment 782. The Court will allow the Defendant to file a
 motion requesting a reduction before it determines the matter. Accordingly, it is.
         ORDERED that defendant has up to and including December 28, 2015 to file a motion
 and memorandum in support of his contention that his sentence should be reduced. The
 government is directed to file a response to any filings within fifteen days of the date of any
 filing from the defendant. The Court will rule on the issue as soon as possible after that date.
 The Federal Defender is withdrawn from this matter.


         DONE AND ORDERED in Chambers in Tampa, Florida this 26th day of October,
 2015.
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 Copies furnished to: All Counsel of Record
